              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      BRYSON CITY DIVISION
           CRIMINAL CASE NO. 2:13-CR-00012-MR-DLH-1


UNITED STATES OF AMERICA        )
                                )
                                )             MEMORANDUM DECISION
                 vs.            )                AND ORDER
                                )
                                )
JACKIE LEE RATTLER              )
_______________________________ )


     THIS MATTER is before the Court on the Defendant’s “Appeal of

Detention Order” [Doc. 39].

                     PROCEDURAL BACKGROUND

     The Defendant and six other persons were charged in a nine count

Indictment filed with the Court on June 4, 2013. [Doc. 1]. The Defendant

was named in eight of the nine counts. Specifically, the grand jury charged

the Defendant in: Count One with conspiring to possess with the intent to

distribute Schedule I, II, and IV controlled substances, in violation of 21

U.S.C. §§ 841(a)(1) and 846; Counts Two, Three, and Six with possession

with the intent to distribute a mixture or substance containing a detectable

amount of oxycodone, a Schedule II controlled substance, in violation of 21

U.S.C. § 841(a)(1); Counts Four and Five with possession with the intent to



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distribute a mixture or substance containing a detectable amount of

marijuana, a Schedule I controlled substance, in violation of 21 U.S.C. §

841(a)(1); Count Seven with possession with the intent to distribute a

mixture or substance containing a detectable amount of cocaine, a

Schedule II controlled substance, in violation of 21 U.S.C. § 841(a)(1);

Count Nine with, while being an unlawful user of and addicted to a

controlled substance1, possessing numerous firearms, in violation of 18

U.S.C. § 922(g)(3). [ Id. ].

         The Defendant made his initial appearance on June 19, 2013, at

which time the Government moved to detain him. The Court entered an oral

order of temporary detention pending the Defendant’s arraignment and

formal detention hearing. The Defendant’s arraignment was held before the

Honorable Dennis L. Howell, United States Magistrate Judge, on June 24,

2013, following which the Defendant’s detention hearing was held.

         After reviewing the evidence presented by the parties, and the

arguments of counsel, Judge Howell found that there was clear and

convincing evidence that the release of the Defendant would create a

serious risk of harm or danger to the safety of another person or the

community.         [Doc. 27]. He further found, by a preponderance of the


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    The grand jury did not identify the specific controlled substance.

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evidence, that the release of the Defendant would create a risk of his flight.

[ Id. ]. Accordingly, Judge Howell ordered the Defendant to be detained

pending trial. Judge Howell explained his ruling on the record and by a

written addendum filed June 25, 2013. [Doc. 32]. The Defendant thereafter

filed a motion seeking review in this Court. [Doc. 39].

                        STANDARD OF REVIEW

      Title 18 of the United States Code, section 3145, governs the review

and appeal of detention orders. This statute provides, in pertinent part, as

follows:

            If a person is ordered detained by a magistrate judge,
            . . . the person may file, with the court having original
            jurisdiction over the offense, a motion for revocation
            or amendment of the order. The motion shall be
            determined promptly.

18 U.S.C. § 3145(b). In reviewing a motion to revoke or amend an order of

detention, the Court reviews the Magistrate Judge’s Order de novo. United

States v. Stewart, 19 F. App’x 46, 48 (4th Cir. 2001). In so doing, the Court

“must make an independent determination of the proper pretrial detention or

conditions of release.” Id. Even though Defendant’s counsel has

denominated his motion as an “Appeal of Detention Order,” the Court will

treat it as a motion to revoke or amend pursuant to § 3145(b).




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                                 ANALYSIS

     During the Defendant’s arraignment, Judge Howell advised the

Defendant that he faced a maximum term of imprisonment of not more than

twenty years’ imprisonment for each of the drug offenses alleged against

him in the indictment, [FTR at 9:20:00 to 9:26:14] and thus, the Act’s

rebuttable presumption arose under the auspices of the grand jury’s

indictment alleging the Defendant violated the Controlled Substances Act in

a manner that exposed him to a potential maximum term of imprisonment of

ten years or more. [FTR at 10:35:45]. While Judge Howell correctly

concluded the rebuttable presumption applied in this matter based upon the

penalties applicable to Counts One, Two, Three, Six, and Seven.

     At the beginning of the Defendant’s detention hearing, the

Government renewed its motion for detention and moved the Pretrial

Services Report into evidence without objection. The Government then

relied upon the Pretrial Services Report without putting forth any additional

evidence. [FTR at 9:40:02]. The Defendant called the Government’s case

agent, Bureau of Indian Affairs Agent Billy Stites as a witness. [FTR at

9:40:53]. Agent Stites testified consistently with his affidavit filed in this

District’s case number 2:13CV18-MR-DLH, document number 1-1.




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     Agent Stites stated that, from Defendant’s home at 120 Elsie Rattler

Road, the Defendant sold 3 oxycodone tablets to a confidential source on

February 28, 2012; that, from his home at 120 Elsie Rattler Road, the

Defendant sold 10 percocet tablets to a confidential source on March 2,

2012; and that, from his home at 120 Elsie Rattler Road, the Defendant sold

one quarter ounce of marijuana to a confidential source on March 10, 2012.

[FTR at 9:51:36 to 9:52:25]. Further, Stites testified that on May 31, 2012,

officers stopped a car coming from the Defendant’s home and seized 31

oxycodone tablets the driver said were purchased from the Defendant; that

on June 13, 2012, officers stopped a car coming from the Defendant’s home

and seized 119 oxycodone tablets, the driver of this vehicle telling officers

s/he supplied oxycodone tablets to the Defendant; and that on November

20, 2012, officers stopped a car coming from the Defendant’s home and

seized 25 oxycodone tablets the driver said were purchased from the

Defendant. [FTR at 9:52:30 to 9:53:53].

     Agent Stites explained that on December 3, 2012, pursuant to a

search warrant issued by this Court, he and other officers searched the

Defendant’s home at 120 Elsie Rattler Road. Seized from the home were

54 oxycodone tablets, 86 xanax pills, approximately 114.6 grams of

cocaine, and approximately 3,072 grams (6.8 pounds) of marijuana. [FTR


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at 9:53:55 to 9:45:52].   Finally, Stites reported that officers interviewed

approximately 30 persons who claimed to have purchased oxycodone from

the Defendant relating that these persons told law enforcement that they

would barter personal property to the Defendant for drugs in lieu of cash.

[FTR at 9:45:55 to 9:55:42]. The record is silent as to allegations of whether

the Defendant engaged in any unlawful drug dealing from the date officers

searched his home and seized contraband on December 3, 2012, until the

date of his arrest on June 19, 2013.

     Following Agent Stites’ testimony, the Defendant introduced six

exhibits, labeled Defendant’s Exhibits A through F without objection by the

Government. [FTR at 10:01:52]. The Defendant’s exhibits, collectively, are

a conglomeration of various medical records from numerous medical

providers. The Defendant’s medical providers, according to his exhibits, are

his urologist in Asheville, Mission Hospital in Asheville, Harris Regional

Hospital in Sylva, Cancer Care of WNC in Sylva, his gastroenterologist in

Sylva, and the Medwest Swain Pain Clinic in Bryson City. The Court can

summarize its findings with regard to the Defendant’s exhibits in the

following manner.

     In October of 2012, the Defendant suffered a fall that led to back

injuries. The Defendant was administered spinal blocks to address the pain


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with marginal results. While undergoing an MRI of his spine, physicians

incidentally found a mass on the Defendant’s right kidney.               Further

evaluation determined the mass to be renal cell carcinoma. On March 6,

2013, the Defendant underwent surgery to remove the upper lobe of his

right kidney. The Defendant was scheduled for a follow-up appointment

July 10, 2013, to discuss results of his surgery and whether further medical

intervention would be necessary. Following his kidney surgery, the

Defendant complained of headaches and dizziness. On May 30, 2013, the

Defendant had an MRI performed of his brain. The MRI disclosed an extra-

axial mass-like area along the superior portion of the left parietal region

consistent with prominent gyrus or congenital arachnoid cyst and did not

have typical characteristics of metastatic disease. The Defendant reports

swallowing problems and underwent a GI evaluation. The biopsy from this

evaluation was negative and he was scheduled for a follow-up visit on July

15, 2013, for a further endoscopy. On June 13, 2013, the Defendant

underwent a lumbar medial branch nerve block for back pain.                     The

Defendant suffers from Type II diabetes and complains of numbness and

loss of feeling in his extremities.       The Defendant currently takes the

following medications to address the listed ailments: percocet for pain,

amitriptyline for mood disorders, flexeril for muscle relaxation, insulin for


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Type II diabetes, OxyContin for pain, lisinopril for high blood pressure, and

simvastatin for cholesterol control.

      After the parties reviewed the Defendant’s medical records, the

Defendant called his mother, Elsie Rattler, as his next witness. [FTR at

10:13:25]. Ms. Rattler lives at 180 Elsie Rattler Road, within eyesight of the

Defendant’s home. [FTR at 10:13:55]. She was aware of the Defendant’s

following health conditions: kidney cancer, 2 “spots” on his brain, and no

feeling in his feet and legs due to diabetes. [FTR at 10:14.37 to 10:14:52].

Mrs. Rattler testified that: she has a car and drives the Defendant to doctor

appointments, her 23 year old grandson lives with her and that he has no

criminal record, she has no criminal record herself, she has a telephone in

her house, she would be willing to supervise the Defendant if he were

released, the Defendant is a life-long resident of Cherokee except for his

short stint in the Army, the Defendant is 54 years old, and if the Defendant

were released to her custody and supervision, she would permit law

enforcement officers to search her home. [FTR at 10:16:00 to 10:18:06].

The Government had no questions for Mrs. Rattler. [FTR at 10:18:30].

      Upon the completion of Mrs. Rattler’s testimony, both the Government

and the Defendant rested and Judge Howell heard argument from counsel.

[FTR at 10:18:54]. Defense counsel argued that the Defendant: had no prior


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felony drug convictions, he never failed to appear for any of his prior

misdemeanor convictions, he is a life-long resident of the Cherokee

reservation, he has strong ties to the community with his wife and children

near, he suffers from several serious medical conditions including on-going

kidney problems, a brain cyst, diabetes that renders him nearly immobile,

and GI problems, and he is seeing five different medical providers. With

regard to drugs seized from the Defendant’s home, counsel argued that

some were validly prescribed to him by his doctors. With regard to the

firearms seized from Defendant’s home, counsel argued that none were

alleged to have been used in any unlawful way by the Defendant nor were

any of them stolen or without valid serial numbers. Defense counsel argued

that the court could set conditions of release that included the third-party

custodianship of Defendant’s mother, house arrest with electronic

monitoring, and the warrantless search of Defendant’s release residence.

Defense counsel asked the Court to release the Defendant on conditions.

[FTR at 10:18:55 to 10:32:45].

     In its argument, the Government contended that the Defendant had

not rebutted the presumption of detention and that he faced significant

charges.   Further, the Government pointed to the Defendant’s Pretrial

Services Report and highlighted his past two convictions for simple assault,


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one conviction for communicating threats, for receiving and possessing

stolen property, and for possessing greater than ½ ounce of marijuana in

2006, and for aggravated possession of marijuana in 2007.                   The

Government argued that the Defendant admitted to using marijuana, and

while he faced no mandatory minimums, his drug offenses were serious,

which included more than 100 grams of cocaine and more than six pounds

of marijuana. Finally, the Government asserted that, according to Agent

Stites, the Defendant has a network of buyers and suppliers of drugs. As a

result, the Government asked the Court to detain the Defendant as a danger

to the community. [FRT at 10:32:57 to 10:35:29].

     At the completion of the parties’ arguments, Judge Howell indicated

the presumption of detention applied. [FTR at 10:35:45]. In determining

whether the Defendant’s detention pending trial was appropriate, Judge

Howell then considered the factors set forth in § 3142(g) which are:

           (1) the nature and circumstances of the offense
           charged, including whether the offense is a crime of
           violence, a violation of section 1591, a Federal crime
           of terrorism, or involves a minor victim or a controlled
           substance, firearm, explosive, or destructive device;

           (2) the weight of the evidence against the person;

           (3) the history and characteristics of the person,
           including –



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                  (A) the person’s character, physical and
                  mental       condition,     family     ties,
                  employment, financial resources, length
                  of residence in the community,
                  community ties, past conduct, history
                  relating to drug or alcohol abuse, criminal
                  history,     and     record    concerning
                  appearance at court proceedings; and

                  (B) whether, at the time of the current
                  offense or arrest, the person was on
                  probation, on parole, or on other release
                  pending trial, sentencing, appeal, or
                  completion of sentence for an offense
                  under Federal, State, or local law; and

            (4) the nature and seriousness of the danger to any
            person or the community that would be posed by the
            person’s release . . . .

18 U.S.C. § 3142(g).

      Upon reviewing the evidence presented at the detention hearing, the

Court appreciates the diligence with which Judge Howell considered the

statutory factors. Looking to the first factor, the nature and circumstances of

the offense, the Defendant’s charges prescribing a penalty under 21 U.S.C.

§ 841(b)(1)(C) fall on the lower level of Congress’ penalty scheme for drug

offenses with the penalties under § 841(b)(1)(A) being the most severe and

the penalties under § 841(b)(1)(B) occupying the middle ground.

Nevertheless, the evidence discussed above indicates that the Defendant

engaged in serious, on-going drug trafficking from his home that resulted in


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substantial profits for him. Judge Howell was correct to weigh this factor

against the Defendant’s release.

     While the weight of the evidence of the Defendant’s drug-dealing

livelihood, and the profits he made thereby, is strong, compelling, and

substantial as found by Judge Howell, there is no indication of whether the

Defendant reverted to his illicit conduct after law enforcement searched his

house. Based on this, the language of the statute indicates that the Court

may presume that the Defendant’s past activities make him a clear,

prospective danger to the community. Judge Howell was correct to weigh

this factor against the Defendant’s release.

     With regard to the history and characteristics of the Defendant, Judge

Howell considered the seriousness of the Defendant’s state of health. The

Defendant introduced evidence of three serious and ongoing health issues:

renal cell carcinoma, type II diabetes with numbness in the extremities, and

a brain cyst of unknown etiology. Judge Howell correctly opined that the

U.S. Marshal could provide care for the Defendant. Further, the Defendant

admitted, and the record supports, that he self-medicates with marijuana, a

consideration supporting detention. On the other hand, the Defendant is a

life-long resident of Cherokee and otherwise has strong family ties to the

community. Further, the Defendant has never failed to appear in court for


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previous tribal charges nor was he on probation, parole, or supervision at

the time of the offenses alleged against him herein. While a close call, this

Court will not substitute its judgment for Judge Howell’s finding that this

factor weighs against the Defendant’s release, especially since Judge

Howell had the opportunity to hear and observe the witnesses during the

Defendant’s detention hearing.

      Turning to the final factor, as Judge Howell found, the Defendant’s risk

of danger to the community cannot be overstated. While the drugs seized

by law enforcement would not necessarily indicate more than a small scale

operation, the tens of thousands of dollars in profits generated by the

Defendant through his drug sales, as well as the 30 persons interviewed by

law enforcement who claimed the Defendant to be their supplier, would tend

to indicate a much greater scale of operation and, consequently, greater risk

of danger to the community. Judge Howell was correct to weigh this factor

against the Defendant’s release.

      Finally, the Defendant states in his motion that “there exists conditions

that the Court could impose that would reasonably ensure the safety of the

community.” [Doc. 39, ¶ 19]. The Defendant, however, neglects to discuss

what such conditions would be as well as how such conditions would protect

the public.


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       Having conducted an independent review of the FTR recording of the

detention hearing, the Order of Detention, and the Addendum to the Order

of Detention, and having considered the arguments of counsel, the Court

concludes that the Magistrate Judge carefully considered each factor set

forth in 18 U.S.C. § 3142(g) and properly concluded that there are no

conditions or combination of conditions of release that will reasonably

assure the appearance of the Defendant as required and the safety of other

persons and the community. Accordingly, the Magistrate Judge’s Order of

Detention is affirmed.

                                  ORDER

     IT IS, THEREFORE, ORDERED that the Defendant’s “Appeal of the

Detention Order” [Doc. 39], which the Court construes as a Motion to

Revoke or Amend pursuant to 18 U.S.C. §3145(b), is DENIED, and the

Order of Detention [Docs. 27, 32] is hereby AFFIRMED.

     IT IS SO ORDERED.


                                  Signed: July 12, 2013




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